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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
                                          )
vs.                                       )   CRIMINAL NO. 12-00057-CG
                                          )
GIUSEPPE BOTTLIGIERI                      )
SHIPPING COMPANY S.P.A.                   )
                                          )
      Defendant.                          )




                                        ORDER

      This matter is before the court on the United States’ Motion for Award

pursuant to 33 U.S.C. § 1908(a) (Doc. 188). Defendant’s Response in Opposition (Doc.

194), and the United States’ Reply (Doc. 197). Upon due consideration of all matters

presented, the United States’ motion is GRANTED. From the $500,000.00 fine paid

by Defendant Giuseppe Bottiglieri Shipping Company, S.P.A., with respect to Count

Four of the Indictment charging a violation of the Act to Prevent Pollution from

Ships, the clerk of court shall pay a total of $500,000.00 to the following former crew

members of the M/V Bottiglieri Challenger:

      $110,000.00 to Geoffrey Bageal;

      $110,000.00 to Papy Bucol;

      $110,000.00 to Stephen Mondigo;

      $110,000.00 to Donald Tidang; and

      $60,000.00 to Rey Arabejo.
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DONE and ORDERED this 25th day of October, 2012.

                                   /s/ Callie V. S. Granade
                                   UNITED STATES DISTRICT JUDGE




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